                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

THE UNITED STATES OF AMERICA §
                             §
vs.                          §                                 CAUSE NO.: 1:22-CR-15
                             §
ELMER STEWART RHODES, III    §

        UNOPPOSED MOTION FOR LEAVE TO SEAL MOTION TO CONTINUE
                SENTENCING AND ALL RELATED DEADLINES


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

         COMES NOW Phillip A. Linder, Counsel for ELMER STEWART RHODES, and enters

this request to allow him to file his Motion to Continue Sentencing and all Related Deadlines

under seal. Undersigned counsel shows the following:

                                                         I.

         Due to the nature of material in the Motion, we respectfully ask that the Motion be

allowed to be filed under Seal.

                                                         II.

         No party will be harmed by the granting of this request.



         WHEREFORE, PREMISES CONSIDERED, Counsel for Defendant respectfully

requests that this Court grant this motion and allow him to file a Motion for Continuance Under

Seal.

                                                               RESPECTFULLY SUBMITTED,


                                                                  /S/ PHILLIP A. LINDER
                                                               PHILLIP A. LINDER
                                                               3300 OAK LAWN AVE. SUITE 700
                                                               DALLAS, TEXAS 75219


UNOPPOSED MOTION FOR LEAVE TO SEAL DEFENDANT’S MOTION TO CONTINUE- RHODES                         1
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                                                               BAR NO.: 12363560

                                                               ATTORNEY FOR DEFENDANT



                                   CERTIFICATE OF CONFERENCE

        On the 28th day of March 2022, the undersigned attempted to confer with Kathryn
Rakoczy, Assistant United States Attorney, by call and email but at the time of this filing, have
not received a response.

                                                                  /S/ PHILLIP A. LINDER
                                                               PHILLIP A. LINDER



                                      CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above foregoing motion was served
upon all counsel of record by electronic filing on the 28th day of March 2023.


                                                                  /S/ PHILLIP A. LINDER
                                                               PHILLIP A. LINDER




UNOPPOSED MOTION FOR LEAVE TO SEAL DEFENDANT’S MOTION TO CONTINUE- RHODES                           2
